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 4
 5                    UNITED STATES DISTRICT COURT
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 7                            DISTRICT OF NEVADA
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11   UNITED STATES OF AMERICA,     )
                                   )
12             Plaintiff,          )
                                   )
13                                 )
        vs                         )         2:12-cr-0078-KJD-GWF
14                                 )
      CHELSEA PASKO,               )
15                                 )
               Defendant,          )
16   ______________________________)
17             ORDER REQUIRING PAYMENT FOR APPOINTED COUNSEL
18             Pursuant to the provisions of the Criminal Justice Act,
19   18 U.S.C. 3006A, the Federal Public Defender was appointed as
20   counsel for the above-named defendant on March 19, 2012.
21        Based upon a review of the defendant’s financial affidavit
22   and other relevant inquiry, the Court now finds that the defendant
23   possesses financial resources sufficient to bear some or all of
24   the cost of his or her representation, i.e., funds are available
25   from or on behalf of the defendant for payment of compensation and
26   expenses of court-appointed counsel and/or for other services
27   necessary for adequate representation.       Accordingly, pursuant to
28   the provisions of 18 U.S.C. 3006A(f),
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 1        IT IS ORDERED that the defendant shall reimburse the Treasury
 2   of the United States for the cost of his representation at the
 3   rate of $200.00 per month, payable to the Clerk of the Court for
 4   deposit in the Treasury, as follows: the defendant’s first payment
 5   shall be due on April 1, 2012, and subsequent payments due on the
 6   1st day of each month thereafter until the case has been concluded.
 7   The total amount of reimbursement shall be determined by the Court
 8   at the conclusion of this case.
 9        Dated this 19th day of March, 2012.
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                               C.W. HOFFMAN, JR.,
12                             UNITED STATES MAGISTRATE JUDGE
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